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 6   Google LLC

 7

 8                              UNITED STATES DISTRICT COURT

 9                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                     OAKLAND DIVISION

11

12   IN RE: SOCIAL MEDIA ADOLESCENT                )    MDL No. 3047
     ADDICTION/PERSONAL INJURY                     )    CASE NO.: 4:22-md-03047-YGR
13   PRODUCTS LIABILITY LITIGATION                 )
                                                   )    DEFENDANTS YOUTUBE, LLC AND
14                                                 )    GOOGLE LLC’S ANSWER TO
                                                   )
15   THIS DOCUMENT RELATES TO:                     )    PLAINTIFFS’ SECOND AMENDED
     ALL ACTIONS                                   )    MASTER COMPLAINT (PERSONAL
16                                                 )    INJURY)
                                                   )
17                                                 )    JURY TRIAL DEMANDED
                                                   )
18                                                 )
                                                   )    Honorable Yvonne Gonzalez Rogers
19                                                 )    Honorable Peter H. Kang
                                                   )
20                                                 )

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 1          Defendants YouTube, LLC and Google LLC1 (“Defendants”) answer Plaintiffs’ Second

 2   Amended Master Complaint (Personal Injury) (Dkt. No. 494) (“SAC”) as follows:

 3                                          GENERAL DENIAL

 4          Pursuant to the Parties’ agreement set forth in the Agenda and Joint Statement for March 21,

 5   2025 Case Management Conference (Dkt. No. 1768), Defendants generally and specifically deny

 6   each and every allegation contained in Plaintiffs’ SAC. Defendants further deny that Plaintiffs, or

 7   any other individual they allege to have been adversely affected, have been damaged as alleged, in

 8   any sum, or at all, by reason of any act or omission on the part of Defendants, and deny that

 9   Plaintiffs, or any other individual they allege to have been adversely affected, are entitled to any

10   relief whatsoever by reason of their SAC.

11                                      AFFIRMATIVE DEFENSES

12          Defendants assert the following affirmative defenses to the causes of action alleged by

13   Plaintiffs in their SAC and reserve the right to amend this Answer to assert additional affirmative

14   defenses. Defendants undertake the burden of proof as to only those defenses deemed affirmative

15   defenses by law, regardless of how such defenses are denominated herein. Further, Defendants

16   reserve the right to assert any and all defenses on which they do not bear the burden of proof.

17                                  FIRST AFFIRMATIVE DEFENSE

18                                         (Failure to State a Claim)

19          The SAC and each claim contained therein fails to state a claim upon which relief can be

20   granted, fails to state facts sufficient to constitute a cause of action, and fails to plead cognizable

21   injury. Defendants incorporate by reference herein as defenses each ground on which they moved

22   to dismiss Plaintiffs’ SAC. See Dkt. Nos. 237, 320, 323, 353, 516, 517, 519, 644.

23                                 SECOND AFFIRMATIVE DEFENSE

24                                     (Communications Decency Act)

25          Plaintiffs’ claims are barred, in whole or in part, by the Communications Decency Act, 47

26   U.S.C. § 230(c)(1).

27
        1
          Pursuant to the Stipulation of Dismissal and Tolling Agreement filed on January 26, 2024
28   (Dkt. No. 568), claims against XXVI Holdings Inc. and Alphabet Inc. in the above-captioned
     matter have been dismissed without prejudice.
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 1                                  THIRD AFFIRMATIVE DEFENSE

 2                                            (Protected Speech)

 3          Plaintiffs’ claims are barred, in whole or in part, to the extent they seek to impose sanctions

 4   on Defendants for engaging in protected activity under the First Amendment to the United States

 5   Constitution and similar provisions of state constitutions. Moreover, the representations or

 6   statements alleged to have been made were true and accurate at the time made and/or otherwise

 7   were made in good faith, with a reasonable belief as to their validity and accuracy and with a

 8   reasonable belief that all conduct was lawful.

 9                                FOURTH AFFIRMATIVE DEFENSE

10                                          (Personal Jurisdiction)

11          With respect to every action originally brought in a court located outside California,

12   Defendants aver that this Court lacks personal jurisdiction over them.

13                                  FIFTH AFFIRMATIVE DEFENSE

14                                            (Lack of Standing)

15          Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs lack standing to assert

16   some or all of the causes of action alleged and to obtain some or all of the relief requested.

17                                  SIXTH AFFIRMATIVE DEFENSE

18                                                  (Misuse)

19          Plaintiffs’ and/or users’ alleged injuries and harm, if any, were caused or contributed to,

20   directly and proximately, in whole or in part, by misuse, unauthorized use, criminal use, unintended

21   use, unforeseeable use, and/or improper use of the service(s) at issue in this matter.

22                                SEVENTH AFFIRMATIVE DEFENSE

23                                          (Economic Loss Rule)

24          Plaintiffs’ claims are barred, in whole or in part, by the economic loss rule.

25                                 EIGHTH AFFIRMATIVE DEFENSE

26                                          (Real Party in Interest)

27          Plaintiffs’ claims are barred because Plaintiffs are not the real party in interest.

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 1                                  NINTH AFFIRMATIVE DEFENSE

 2                                        (Unjust Enrichment, Generally)

 3          Plaintiffs’ claims for relief are barred because they would be unjustly enriched if they

 4   recovered any monetary relief.

 5                                  TENTH AFFIRMATIVE DEFENSE

 6                             (Derivative Nature of Unjust Enrichment Claim)

 7          Any unjust enrichment claim is barred, in whole or in part, as entirely derivative of Plaintiffs’

 8   other, legally deficient claims.

 9                               ELEVENTH AFFIRMATIVE DEFENSE

10                                      (Plaintiffs Were on Notice/Consent)

11          Plaintiffs cannot obtain relief on their claims based on actions undertaken by Defendants of

12   which Defendants provided notice of all reasonable facts. Further, Plaintiffs have consented to

13   and/or ratified the conduct alleged in the SAC.

14                                TWELFTH AFFIRMATIVE DEFENSE

15                                                  (Contract)

16          Plaintiffs’ claims are barred, in whole or in part, by contracts and/or agreements, including

17   the integrated Terms of Service, they entered into with Defendants or third parties.

18                              THIRTEENTH AFFIRMATIVE DEFENSE

19                                           (Pre-Existing Conditions)

20          The injuries and harms Plaintiffs allege, if any, were the direct result of users’ preexisting

21   medical conditions or idiosyncratic reactions and/or occurred by operation of nature or as a result

22   of circumstances over which Defendants had and continue to have no control.

23                             FOURTEENTH AFFIRMATIVE DEFENSE

24                                              (Improper Joinder)

25          The claims asserted against Defendants do not arise out of the same transactions or

26   occurrences as required for joinder of parties.

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 1                               FIFTEENTH AFFIRMATIVE DEFENSE

 2                                  (Failure to Join Indispensable Parties)

 3          Plaintiffs have failed to join necessary or indispensable parties.

 4                              SIXTEENTH AFFIRMATIVE DEFENSE

 5                                               (Preemption)

 6          Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs’ claims are expressly or

 7   impliedly preempted, in whole or in part, by federal or state law.

 8                            SEVENTEENTH AFFIRMATIVE DEFENSE

 9                        (Proportionate Fault of Agents, Employees, Contractors)

10          To the extent any agents, employees, or contractors of Defendants caused any of the damages

11   alleged by the Plaintiffs, such agents, employees, or contractors were acting outside the scope of

12   agency employment, or contract with Defendants, and any recovery against Defendants must be

13   reduced by the proportionate fault of such agents, employees, or contractors.

14                             EIGHTEENTH AFFIRMATIVE DEFENSE

15                                            (Third-Party Fault)

16          A percentage of each Plaintiff’s alleged injury or loss, if proven, is attributable to (i) other

17   parties from whom Plaintiffs seek recovery in this action, and/or (ii) persons from whom Plaintiffs

18   do not seek recovery in this action. Plaintiffs’ claims are therefore barred and/or Plaintiffs’ damages

19   must be reduced, in whole or in part, because of the contributory and/or comparative fault of third

20   parties who caused or contributed to Plaintiffs’ alleged injuries. Defendants are not liable for any

21   alleged harm Plaintiffs sustained as a result of Plaintiffs’ use of another Defendant’s services; or

22   any non-party’s website, app, online service, or other good, product, service or intangible.

23                             NINETEENTH AFFIRMATIVE DEFENSE

24                               (Third-Party Fault – Use of Other Services)

25          Defendants are not liable for any alleged harm by Plaintiffs that users of Defendants’

26   services sustained as a result of a use of (i) another Defendant’s services; or (ii) any non-party’s

27   website, app, online service, or other good, product, service or intangible.

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 1                              TWENTIETH AFFIRMATIVE DEFENSE

 2                                 (Contributory and/or Comparative Fault)

 3          A percentage of each Plaintiff’s alleged injury or loss is attributable to the conduct of

 4   Plaintiff(s) and/or others acting on Plaintiffs’ behalf. Plaintiffs’ claims are therefore barred and/or

 5   Plaintiffs’ damages must be reduced, in whole or in part, because Plaintiffs’ alleged damages were

 6   caused by the contributory or comparative fault of Plaintiffs and/or others acting on Plaintiffs’

 7   behalf, because Plaintiffs knowingly encountered the alleged risks of Defendants’ services, and

 8   because the principle of secondary assumption of risk applies to Plaintiffs’ claims.

 9                            TWENTY-FIRST AFFIRMATIVE DEFENSE

10                                   (Statutes of Limitations and Repose)

11          Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of limitations and

12   of repose. Plaintiffs’ claims are based on alleged acts or omissions that occurred before any

13   applicable limitations period and thus are time-barred.

14                          TWENTY-SECOND AFFIRMATIVE DEFENSE

15                                      (Terms of Service Limitations)

16          Plaintiffs’ claims are barred by the one-year limitations period in YouTube’s Terms of

17   Service.

18                            TWENTY-THIRD AFFIRMATIVE DEFENSE

19                                           (No Duty or Breach)

20          Plaintiffs’ claims against Defendants fail as a matter of law because Defendants neither owed

21   nor breached any duty to any Plaintiffs.

22                          TWENTY-FOURTH AFFIRMATIVE DEFENSE

23                                           (Assumption of Risk)

24          Defendants owe no duty of care towards Plaintiffs in regard to the alleged inherent risks of

25   Defendants’ services, and any recovery against Defendants is barred or limited under the principle

26   of assumption of risk, both express and implied.

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 1                              TWENTY-FIFTH AFFIRMATIVE DEFENSE

 2                                                (No Injuries)

 3          Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs and/or users of

 4   Defendants’ services suffered no injuries or harm as a result of any action by Defendants.

 5                              TWENTY-SIXTH AFFIRMATIVE DEFENSE

 6                                                  (Laches)

 7          Plaintiffs’ claims are barred, in whole or in part, by the equitable doctrine of laches to the

 8   extent that Plaintiffs unreasonably delayed before pursuing their alleged claims.

 9                          TWENTY-SEVENTH AFFIRMATIVE DEFENSE

10                                          (Speculative Damages)

11          Plaintiffs’ claims are barred to the extent that Plaintiffs’ alleged damages are speculative,

12   uncertain, and/or hypothetical.

13                              TWENTY-EIGHTH AFFIRMATIVE DEFENSE

14                                 (Fraud, Illegality, or Improper Conduct)

15          Plaintiffs’ claims are barred, in whole or in part, to the extent the alleged harms were due to

16   the procurement of Defendants’ services through conduct that was fraudulent, illegal, or otherwise

17   improper. Defendants’ services were and continue to be age-restricted. Users who began using

18   Defendants’ services below the permitted age unlawfully obtained Defendants’ services while

19   underage and through the use of deception, fraud, or other improper conduct, such as through

20   misrepresentation of their true ages. Plaintiffs’ claims are further barred, in whole or in part, by the

21   illegality of Plaintiffs’ and/or users’ own actions and/or any fraudulent and/or improper conduct by

22   Plaintiffs and/or users.

23                              TWENTY-NINTH AFFIRMATIVE DEFENSE

24                                              (Unclean Hands)

25          Plaintiffs’ claims are barred, in whole or in part, by the equitable doctrine of unclean hands,

26   including to the extent Plaintiffs’ claims are brought despite any harms alleged that were caused as

27   a result of users violating Defendants’ Terms of Service and/or Terms of Use.

28

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 1                               THIRTIETH AFFIRMATIVE DEFENSE

 2                                            (Failure to Mitigate)

 3          Plaintiffs are barred from recovery to the extent of Plaintiffs’ and/or users’ failure to avoid

 4   or mitigate harm, including but not limited to users’ failure to cease using Defendants’ services;

 5   failure to seek medical or other assistance in an effort to cease using Defendants’ services; or failure

 6   to otherwise seek medical or other assistance in an effort to address users’ alleged injuries or harm.

 7                             THIRTY-FIRST AFFIRMATIVE DEFENSE

 8                                        (Claims Not Ripe/Mootness)

 9          Plaintiffs’ claims are not ripe. Plaintiffs’ claims are barred to the extent they are moot,

10   including because Plaintiffs have made numerous allegations about historical practices or other

11   practices that have ceased and that cannot support a request for injunctive or other relief.

12                            THIRTY-SECOND AFFIRMATIVE DEFENSE

13                                                  (Estoppel)

14          Plaintiffs’ claims are barred, in whole or in part, by the doctrine of estoppel based on the

15   actions of Plaintiffs and/or their representatives.

16                             THIRTY-THIRD AFFIRMATIVE DEFENSE

17                        (Conduct Not Willful; Conforming to Industry Standards)

18          Defendants deny that they engaged in any wrongful conduct. Any conduct by Defendants

19   was not willful or knowing. Plaintiffs’ claims are barred, in whole or in part, to the extent that the

20   challenged conduct of Defendants was undertaken for a valid business purpose and/or was consistent

21   with industry norms and practices.

22                           THIRTY-FOURTH AFFIRMATIVE DEFENSE

23                                       (Lack of Causation, Generally)

24          Defendants deny all types of causation, general and specific, including cause in fact,

25   proximate cause, and producing cause, with respect to the claims asserted against Defendants.

26                             THIRTY-FIFTH AFFIRMATIVE DEFENSE

27                        (Independent, Intervening, and/or Superseding Causation)

28          Plaintiffs’ alleged injuries, in whole or in part, resulted from independent, intervening,

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 1   and/or superseding causes for which Defendants are not legally responsible and which were not

 2   foreseeable.

 3                             THIRTY-SIXTH AFFIRMATIVE DEFENSE

 4                      (Adequate Remedy at Law; Plaintiffs Seek Improper Abatement)

 5           Plaintiffs’ equitable claims are barred, in whole or in part, because Plaintiffs have an

 6   adequate remedy at law, because Plaintiffs have no factual or legal basis for the grant of equitable

 7   relief, and because Plaintiffs’ alleged equitable relief would duplicate legal remedies that are

 8   alleged. In addition, to the extent that Plaintiffs seek money as an equitable “abatement” remedy,

 9   that is an improper remedy.

10                            THIRTY-SEVENTH AFFIRMATIVE DEFENSE

11                                           (Duplicative Recovery)

12           Plaintiffs’ claims are barred, in whole or in part, to the extent that Plaintiffs seek duplicative

13   relief for the same conduct.

14                            THIRTY-EIGHTH AFFIRMATIVE DEFENSE

15                                   (Cap on Recovery; Collateral Sources)

16           Plaintiffs’ claims are barred, in whole or in part, pursuant to all applicable statutory and

17   common law doctrines regarding limitations of awards, caps on recovery, and setoffs. Defendants

18   are entitled to have any damages that may be awarded to Plaintiffs reduced by the value of any

19   benefit or payment received, available, or to be received by Plaintiffs from any collateral source, as

20   permitted by law.

21                             THIRTY-NINTH AFFIRMATIVE DEFENSE

22                                                   (Set-Off)

23           Defendants are not liable for the full amount of the claims to the extent Defendants are

24   entitled to a set-off.

25                                  FORTIETH AFFIRMATIVE DEFENSE

26           (No Punitive Damages, Generally; No Punitive Damages – Statutory/Constitutional)

27           Punitive damages are not recoverable by Plaintiffs because Plaintiffs have failed to allege or

28   establish any conduct that would support an award of punitive damages. Further, any claims for

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 1    punitive or exemplary damages or other civil penalties are barred or reduced by applicable law or

 2    statute or, in the alternative, are unconstitutional insofar as they violate the due process protections

 3    afforded by the United States Constitution, the excessive fines clause of the Eighth Amendment of

 4    the United States Constitution, the Full Faith and Credit Clause of the United States Constitution,

 5    and applicable provisions of the Constitution of this State or that of any other state whose laws may

 6    apply.

 7                                FORTY-FIRST AFFIRMATIVE DEFENSE

 8                                          (Attorneys’ Fees Unavailable)

 9             Plaintiffs’ request for attorneys’ fees in this action is barred because it lacks any basis in law.

10                              FORTY-SECOND AFFIRMATIVE DEFENSE

11                                         (Claim and/or Issue Preclusion)

12             Plaintiffs’ claims are barred, in whole or in part, by the doctrines of claim and/or issue

13    preclusion to the extent that Plaintiffs have brought other lawsuits against Defendants that reach

14    judgment before this action reaches judgment.

15                                FORTY-THIRD AFFIRMATIVE DEFENSE

16                                      (Lack of Capacity to Assert Claims)

17             Plaintiffs have no capacity, authority, or right to assert some or all of their claims.

18                              FORTY-FOURTH AFFIRMATIVE DEFENSE

19                                          (Sufficient Corrective Action)

20             Plaintiffs’ claims are barred, in whole or in part, because Defendants’ allegedly offending

21    conduct or practice has ceased and Defendants have cured or taken sufficient corrective action in

22    regard to the alleged defects of which Plaintiffs complain.

23                                FORTY-FIFTH AFFIRMATIVE DEFENSE

24                                              (Opportunity to Cure)

25             Plaintiffs’ claims are barred, in whole or in part, to the extent that Plaintiffs failed to provide

26    Defendants with notice of and a reasonable opportunity to cure the alleged defects.

27

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 1                              FORTY-SIXTH AFFIRMATIVE DEFENSE

 2                                          (Discharged Obligations)

 3           Defendants appropriately, completely, and fully discharged any and all obligations arising

 4    out of the matters alleged in the SAC.

 5                            FORTY-SEVENTH AFFIRMATIVE DEFENSE

 6                                                (Justification)

 7           Plaintiffs’ claims are barred, in whole or in part, because to the extent Defendants engaged

 8    in any of the alleged acts, omissions, or conduct, they did so with justification.

 9                             FORTY-EIGHTH AFFIRMATIVE DEFENSE

10                       (Ordinary Course of Business; Industry Custom and Practice)

11           Plaintiffs’ claims are barred, in whole or in part, because at all relevant times, Defendants’

12    actions were within the ordinary course of business and complied with industry custom and practice.

13                              FORTY-NINTH AFFIRMATIVE DEFENSE

14                                             (Authorized Conduct)

15           At all times material herein, Defendants’ actions were specifically authorized under the laws

16    administered by, or rules and regulations promulgated by, regulatory bodies or officers acting under

17    the authority of the United States.

18                                 FIFTIETH AFFIRMATIVE DEFENSE

19                           (Content and Parties Outside of Defendants’ Control)

20           Recovery for Plaintiffs’ alleged harm should be barred or reduced to the extent such harm

21    was caused by (i) content created by persons and/or entities not within Defendants’ control and/or

22    (ii) changes and/or alterations to Defendants’ products made by persons and/or entities not within

23    Defendants’ control.

24                               FIFTY-FIRST AFFIRMATIVE DEFENSE

25                                          (Conformance with Laws)

26           The claims asserted in the SAC are barred, in whole or in part, because the activities of

27    Defendants’ alleged in the SAC conformed with all state and federal statutes, regulations, and

28    industry standards based on the state of knowledge at the relevant times alleged in the SAC.

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 1                              FIFTY-SECOND AFFIRMATIVE DEFENSE

 2                                                 (State of Art)

 3            Plaintiffs may not recover from Defendants because the methods, standards, or techniques

 4    of designing and making available the services at issue complied with and were in conformity with

 5    the generally recognized state of the art at the time the services were designed and made available

 6    to users.

 7                               FIFTY-THIRD AFFIRMATIVE DEFENSE

 8                                   (Acquiescence, Settlement, and Release)

 9            Plaintiffs’ claims are barred, in whole or in part, by the doctrines of acquiescence, settlement,

10    and release.

11                              FIFTY-FOURTH AFFIRMATIVE DEFENSE

12                                            (Separation of Powers)

13            Plaintiffs’ claims are barred or limited by the separation of powers doctrine to the extent that

14    they raise political or policy issues, not legal or constitutional ones.

15                               FIFTY-FIFTH AFFIRMATIVE DEFENSE

16                            (Defenses Against Claims Made on Behalf of Others)

17            Plaintiffs’ claims are subject to all defenses that could be asserted if Plaintiffs’ claims were

18    properly made by individuals on whose behalf or for whose alleged injuries or harm Plaintiffs seek

19    to recover.

20                               FIFTY-SIXTH AFFIRMATIVE DEFENSE

21                                            (Petitioning Congress)

22            Plaintiffs’ claims fail, in whole or in part, to the extent that they are based on petitioning

23    statements made to Congress.

24                             FIFTY-SEVENTH AFFIRMATIVE DEFENSE

25                                           (Contemplated Conduct)

26            Plaintiffs’ claims are barred, in whole or in part, because the conduct alleged in the SAC was

27    contemplated by contracts and/or agreements that users of Defendants’ services entered into with

28    Defendants or third parties.

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 1                              FIFTY-EIGHTH AFFIRMATIVE DEFENSE

 2                                        (Dormant Commerce Clause)

 3           Plaintiffs’ claims are barred, in whole or in part, by the dormant Commerce Clause of the

 4    United States Constitution.

 5                               FIFTY-NINTH AFFIRMATIVE DEFENSE

 6                                            (Due Process Clause)

 7           Plaintiffs’ claims are barred, in whole or in part, by the Due Process Clauses of the United

 8    States and applicable state constitutions, including to the extent Plaintiffs seek punitive damages.

 9                                  SIXTIETH AFFIRMATIVE DEFENSE

10                                                (No Reliance)

11           Plaintiffs’ claims may be barred, in whole or in part, because users did not rely (reasonably

12    or otherwise) upon any purported statement by Defendants in determining to use Defendants’

13    services.

14                               SIXTY-FIRST AFFIRMATIVE DEFENSE

15                                          (No Retroactive Reliance)

16           To the extent that Plaintiffs seek relief for Defendants’ conduct occurring before enactment

17    of applicable statutes or regulations, the claims fail because the statutes and regulations do not apply

18    retroactively.

19                             SIXTY-SECOND AFFIRMATIVE DEFENSE

20                                             (Preclusion by Law)

21           Plaintiffs are precluded from recovering civil penalties and/or statutory damages under

22    applicable provisions of law.

23                               SIXTY-THIRD AFFIRMATIVE DEFENSE

24                                     (Consumer Protection Limitations)

25           Plaintiffs’ claims are premised on the provisions and limitations of the state laws governing

26    Plaintiffs’ claims. Defendants are entitled to, and claim the benefit of, all defenses and presumptions

27    set forth in or arising from any rule of law or statute of the states under whose laws Plaintiffs bring

28    their claims or any other state whose substantive law might control the action or claims.

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 1                              SIXTY-FOURTH AFFIRMATIVE DEFENSE

 2                                                   (Puffery)

 3           Plaintiffs’ claims fail, in whole or in part, to the extent that they are based on nonactionable

 4    statements of puffery or opinion, rather than statements of fact.

 5                               SIXTY-FIFTH AFFIRMATIVE DEFENSE

 6                                          (No Consumer Transaction)

 7           Plaintiffs’ claims fail, in whole or in part, to the extent that they were not made in connection

 8    with a consumer transaction.

 9                               SIXTY-SIXTH AFFIRMATIVE DEFENSE

10                                     (Consumer Protection of Publishers)

11           Plaintiffs’ consumer protection claims fail, in whole or in part, to the extent that the relevant

12    consumer protection statutes exempt from liability publishers, broadcasters or other persons who

13    publish, broadcast, or reproduce material without knowledge of its allegedly deceptive character.

14                             SIXTY-SEVENTH AFFIRMATIVE DEFENSE

15                                      (Fraud Not Pled with Particularity)

16           To the extent that Plaintiffs allege fraud, fraudulent concealment, or similar conduct,

17    Plaintiffs have failed to plead fraud with sufficient particularity.

18                              SIXTY-EIGHTH AFFIRMATIVE DEFENSE

19                                 (Other Defenses Incorporated by Reference)

20           Defendants further incorporate by reference, as if set forth herein, any defense asserted by

21    another Defendant in these matters.

22                              ADDITIONAL AFFIRMATIVE DEFENSES

23           Defendants hereby give notice that they reserve the right to rely upon any other defense that

24    may become apparent as discovery progresses in this matter and reserves their right to amend the

25    Answer and to assert any such defense. Defendants also reserve the right to amend the Answer and

26    to assert any such defense should Plaintiffs at any time hereafter purport to raise, rely on, or

27    otherwise seek to proceed on any claim or theory stated in their SAC that has been

28    dismissed. Defendants also reserve the right to amend their Answer and to assert any such defense

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 1    should Plaintiffs at any time hereafter ask the Court to award relief on the basis of Plaintiffs’ prayers

 2    for “other” relief. Nothing stated herein constitutes a concession as to whether Plaintiffs bear the

 3    burden of proof on any issue.

 4                                          PRAYER FOR RELIEF

 5           WHEREFORE, Defendants request:

 6           (a) That judgment be entered in favor of Defendants and against Plaintiffs, and that

 7    Plaintiffs’ action should be dismissed in its entirety with prejudice;

 8           (b) That Plaintiffs take nothing by way of their SAC;

 9           (c) That Defendants be awarded the costs of defending against this suit, including reasonable

10    attorneys’ fees and other disbursements; and

11           (d) Such other and further relief as the Court shall deem just and proper.

12                                              JURY DEMAND

13           Defendants demand a trial by jury on all issues so triable.

14                                                   Respectfully submitted,

15    Dated: March 28, 2025                          WILSON SONSINI GOODRICH & ROSATI
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16
                                                           /s/ Lauren Gallo White
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      YOUTUBE AND GOOGLE’S ANSWER TO SECOND              -14-                     CASE NO.: 4:22-MD-03047-YGR
      AMENDED MASTER COMPLAINT (PERSONAL INJURY)
